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LQQRFHQFH0U7KURQH³PXVWGHPRQVWUDWHWKDWLQOLJKWRIDOOWKHHYLGHQFHLWLVPRUH

OLNHO\WKDQQRWWKDWQRUHDVRQDEOHMXURUZRXOGKDYHFRQYLFWHGKLP´%RXVOH\Y8QLWHG

6WDWHV86   LQWHUQDOTXRWDWLRQPDUNVRPLWWHG ³,WLVLPSRUWDQWWR

QRWHLQWKLVUHJDUGWKDWµDFWXDOLQQRFHQFH¶PHDQVIDFWXDOLQQRFHQFHQRWPHUHOHJDO

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        0U7KURQHFRQWHQGVWKDWKHLVDFWXDOO\LQQRFHQWRIWKHPDLOIUDXGFKDUJHZKLFK

LQFOXGHVIRXUHOHPHQWV  WKHGHIHQGDQWGHYLVHGRULQWHQGHGWRGHYLVHDVFKHPHWR

GHIUDXG  WKHVFKHPHLQYROYHGPDWHULDOO\IDOVHRUIUDXGXOHQWSUHWHQVHV

UHSUHVHQWDWLRQVRUSURPLVHV  WKHGHIHQGDQWNQRZLQJO\FDXVHGVRPHWKLQJWREH

GHOLYHUHGE\PDLOIRUWKHSXUSRVHVRIH[HFXWLQJWKHVFKHPHDQG  WKHGHIHQGDQWDFWHG

ZLWKLQWHQWWRGHIUDXG86&8QLWHG6WDWHVY.DOX)G±

    WK&LU 0U7KURQHDUJXHVWKDWQHZHYLGHQFHVKRZVWKDWKLVHPSOR\HUZDV

DZDUHWKDWKLVUHSUHVHQWDWLRQVZHUHIDOVHDQGWKHUHIRUHDUHDVRQDEOHMXU\FRXOGQRW

ILQGWKDWWKHVHFRQGHOHPHQWPDWHULDOLW\ZDVPHW 'RFDW ,QVXSSRUWKH

SURYLGHVYDULRXVGRFXPHQWVZKLFKKHDVVHUWVVKRZWKDWKLVHPSOR\HUZDVDZDUHRIKLV

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Case 1:16-cr-00073-CMA Document 65 Filed 12/23/21 USDC Colorado Page 8 of 9




SOHD´UDWKHUKHDVVHUWVKHLVRIIHULQJQHZDGGLWLRQDOHYLGHQFH³WKDWGRHVQRWFRQWUDGLFW

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    ,G 1HLWKHUKLVVXSHUYLVRUVQRUDQ\RWKHUHPSOR\HHZDVDZDUHRI0U7KURQH¶VIUDXG

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HVWDEOLVKHGWKDWHQIRUFLQJWKHFROODWHUDODWWDFNZDLYHULQKLVSOHDDJUHHPHQWZRXOGEHD
Case 1:16-cr-00073-CMA Document 65 Filed 12/23/21 USDC Colorado Page 9 of 9




PLVFDUULDJHRIMXVWLFH7KH&RXUWWKHUHIRUHILQGVWKDWWKHZDLYHULVHQIRUFHDEOHDQG0U

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